       Case 2:06-cr-00251-RDP-PWG Document 91 Filed 10/22/08 Page 1 of 4                                          FILED
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                                                                                                         U.S. DISTRICT COURT
                                                                                                             N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

CEDRIC ORLANDO GREEN,                                }
                                                     }
        Petitioner,                                  }
                                                     }
v.                                                   }          Case No.: 2:06-CR-251-RDP-PWG
                                                     }
UNITED STATES OF AMERICA ,                           }
                                                     }
        Respondent.                                  }


               MEMORANDUM OF DECISION REGARDING MOTION FOR
                 MODIFICATION AND/OR REDUCTION OF SENTENCE

        This case is before the court on pro se Petitioner Cedric Orlando Green’s Motion for

Modification and/or Reduction of Sentence Pursuant to Title 18 U.S.C. § 3582(c)(2) filed June 5,

2008.1 (Doc. #88). Petitioner Green files his motion requesting that this court modify or reduce his

sentence based on a guideline sentencing range that has subsequently been lowered and made

retroactive by the United States Sentencing Commission pursuant to 28 U.S.C. § 994(u). For the

reasons stated herein, the court concludes that Petitioner’s motion for reduction of sentence is due

to be granted.




        1
         On April 8, 2008, Petitioner filed a pro se request that his case be reviewed for sentence reduction
or time served. (Doc. #86). The court will treat Petitioner’s request as a Motion for Reduction of Sentence.
Because Petitioner has two pending motions before the court for a reduction of sentence and both motions
address the same issue, the court will direct the Clerk of Court to moot Petitioner’s pro se motion filed April
8, 2008 (Doc. #86) and address only the issues raised in Petitioner’s pro se motion filed June 5, 2008. (Doc.
#88).
      Case 2:06-cr-00251-RDP-PWG Document 91 Filed 10/22/08 Page 2 of 4




I.     Background

       In May 2007, the U. S. Sentencing Commission (“Sentencing Commission”) submitted a

group of proposed amendments to the Sentencing Guidelines as they have done annually since 1987.

One of these amendments, Amendment 706 (hereinafter referred to as the “Crack Amendment”),

represented the Sentencing Commission’s attempt to mitigate the sentencing disparity for defendants

convicted of crack cocaine offenses as opposed to powder cocaine offenses. See United States

Sentencing Comm’n, Report to Congress: Cocaine and Federal Sentencing Policy (May 2007) (the

“2007 Report”); see also Kimbrough v. United States, 128 S.Ct. 558, 569 (2007) (describing

Commission’s amendments to Sentencing Guidelines). In the absence of Congressional action to

amend the 100:1 ratio found in the Title 21 statutes, the Sentencing Commission proposed a method

to reduce the potential sentences by lowering the applicable guidelines for quantities of crack by two

levels, the base offense level assigned to each threshold quantity of crack listed in the Drug Quantity

Table in Guideline § 2D1.1. See U.S.S.G. § 2D1.1 (Nov. 1, 2007); U.S.S.G. Supp. To App’x C,

Amend. 706.

       All of the proposed amendments, including the Crack Amendment, became effective on

November 1, 2007. In December 2007, following a period of public discussion, the Sentencing

Commission voted to apply the Crack Amendment retroactively to cases decided before November

1, 2007. The effective date for retroactive application of the Crack Amendment was March 3, 2008.

The Sentencing Commission also amended Guideline § 1B1.10 to include the Crack Amendment

(hereinafter referred to as the “Amended Policy Statement”). Thus, as of March 3, 2008, the Crack

Amendment and Amended Policy Statement apply to all relevant sentences, old and new. All of this




                                                  2
       Case 2:06-cr-00251-RDP-PWG Document 91 Filed 10/22/08 Page 3 of 4




was accomplished pursuant to the Sentencing Commission’s authority found at 28 U.S.C. § 994(u)

and 18 U.S.C. § 3582(c).

II.    Analysis

       With that background, the court now turns to the current motion (Doc. #88) filed by

Petitioner to modify his term of imprisonment under 18 U.S.C. § 3582(c)(2). Petitioner’s motion

seeks relief under the Crack Amendment and the Amended Policy Statement.

       The focus of Petitioner’s § 3582(c)(2) motion is the 78-month sentence imposed upon him

on December 14, 2006. Petitioner was found guilty by jury verdict on September 12, 2006 of

violating 21 U.S.C. §§ 841(a)(1) and (b)(1)(B) and 18 U.S.C. § 2, and sentenced at the low end of

the applicable guideline range. 21 U.S.C. §§ 841(a)(1) and (b)(1)(B).

       The following chart sets forth the application of the Crack Amendment and the Amended

Policy Statement to the instant case:

                                        Original Sentence               Retroactive Sentence
                                                                            Adjustment
 Total Offense Level              26                                24
 Criminal History Category        III                               III
 Imprisonment Range               78 to 97 months                   63 to 78 months


III.   Decision

       Petitioner’s Motion for Modification and/or Reduction of Sentence Pursuant to Title 18

U.S.C. § 3582(c)(2) is due to be granted. A separate order will be entered in accordance with the

court’s decision.




                                               3
      Case 2:06-cr-00251-RDP-PWG Document 91 Filed 10/22/08 Page 4 of 4




IV.    Notice of Appeal Rights

       Should Petitioner consider an appeal of the court’s decision, a § 3582(c)(2) motion is a

continuation of the criminal proceeding; therefore, a notice of appeal must be filed within ten (10)

days from the entry of the judgment or order being appealed. See, United States v. Fair, 326 F.3d

1317, 1318 (11th Cir. 2003); United States v. Starks, 2008 WL 351386 (11th Cir. 2008);

Fed.R.App.P. 4(b)(1)(A)(i). If Petitioner was represented by appointed counsel at trial or on appeal,

Petitioner is not required to file a new application to proceed in forma pauperis on appeal from the

denial of the § 3582(c)(2) motion. If Petitioner was represented by retained counsel at trial or on

direct appeal but believes he is now unable to afford counsel, Petitioner should file an application

to proceed in forma pauperis (accompanied by a certified copy of prison account statements for the

last six months) when he files his notice of appeal from the denial of the § 3582(c)(2) motion. The

Clerk is DIRECTED to provide Petitioner with an application to proceed in forma pauperis form.

       DONE and ORDERED this              22nd         day of October, 2008.


                                                      ___________________________________
                                                      R. DAVID PROCTOR
                                                      UNITED STATES DISTRICT JUDGE




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